Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 1 of 14




                            Exhibit A
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 2 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 1 of 13 PageID 2577
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 3 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 2 of 13 PageID 2578
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 4 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 3 of 13 PageID 2579
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 5 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 4 of 13 PageID 2580
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 6 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 5 of 13 PageID 2581
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 7 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 6 of 13 PageID 2582
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 8 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 7 of 13 PageID 2583
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 9 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 8 of 13 PageID 2584
Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 10 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 9 of 13 PageID 2585
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 11 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 10 of 13 PageID 2586
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 12 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 11 of 13 PageID 2587
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 13 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 12 of 13 PageID 2588
 Case 6:21-cv-00016 Document 103-1 Filed on 09/15/21 in TXSD Page 14 of 14
Case 2:21-cv-00067-Z Document 76 Filed 07/19/21 Page 13 of 13 PageID 2589
